Case: 2:21-cv-00137-DLB-CJS Doc#:1-1 Filed: 11/01/21 Page: 1 of 1 - Page ID#: 67

1544 (tev. 04721) CIVIL COVER SHEET

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(a) ; DEFENDANTS

ANTHONY MARIO WYNN CITY OF COVINGTON DOUG ULLRICH; JOHN MURPHY;

DANNY ELSBERND: ROBERT NADER
(b) County of Residence of First Listed Pluinsifl Glencoe County of Rowdeace of Fest Listed Defeniest §=Konton

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